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      EXHIBIT 27
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                 MONTANA THIRTEENTH JUDICIAL DISTRICT COURT
                            YELLOWSTONE COUNTY, MONTANA


BRANDY MORRIS, on behalf of herself and                      Cause No.: DV 20-528
all others similarly situated,
                   Plaintiff,
                                                            Judge Michael G. Moses
    vs.

                                                       ORDER DENYING DEFENDANT’S
FIRST INTERSTATE BANK,                               MOTION TO DISMISS AND GRANTING
                                                      PLAINTIFF’S MOTION TO AMEND
                   Defendant.




          This matter comes before the Court on Defendant First Interstate Bank’s Motion to

Dismiss, filed June 8, 2020. The Plaintiff Morris filed a response in opposition to the Motion to

Dismiss on June 25, 2020. Plaintiff filed Motion to Amend on August 18, 2020. Defendant filed a

response in opposition to the Motion to Amend on September 3, 2020. Plaintiff filed a reply brief

in support of her Motion to Amend on September 8, 2020. The Court heard argument on all

motions on September 9, 2020.

   I.        STANDING AND ESTOPPEL

             a. Background

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        Defendant assessed overdraft fees on Plaintiffs account in March and April 2017. Pl.’s

Compl. ^11,61. Plaintiff filed for bankruptcy in June 2018. Def’s Mot. Dismiss at Ex. 1-1, 1-

46. Plaintiff was unaware of her potential cause of action against Defendant regarding the overdraft

fees and, thus, did not list the present cause of action when she filed for bankruptcy in 2018. Id. at

1-14; Pl.’s Res. Mot. Dismiss at 5. Plaintiffs bankruptcy claim was discharged in September 2018.

Def’s Mot. Dismiss at Ex. 1-59. Plaintiff did not realize her potential claims against Defendant

regarding the 2017 overdraft fees until April 2020 when she consulted her attorney. Pl.’s Res. Mot.

Dismiss at 5.

           b. Legal Standard

       Under Montana law, to have standing, a plaintiff must clearly allege past, present, or

threatened injury to her property that a success in the court would alleviate. Lucas v. Stevenson,

294 P.3d 377, 381 (Mont. 2013). Whether the claim is the property of a plaintiff or her bankruptcy

estate depends on when the cause of action accrued; it is part of the bankruptcy estate if it accrued

before plaintiff filed for bankruptcy. Id., quoting 11 U.S.C. § 541. A cause of action “accrues”

when it “springs up, originates, comes into being, becomes operative, presents itself’—in other

words, when plaintiff has knowledge of a potential legal claim. Bergin v. Temple, 111 P.2d 286,

289 (Mont. 1941); see also, Mont. Code Ann. § 27-2-102. Further, a plaintiff is “precluded from

pursuing claims about which he had knowledge, but did not disclose, during his bankruptcy

proceedings.” Hamilton v. State Farm Fire & Cas Ins. Co., 270 F.3d 778, 785 (9th Cir. 2001)

(emphasis added).

           c. Discussion

       Defendant argues that Plaintiff lacks standing and is judicially estopped from bringing the

present claim because she failed to disclose the potential claims arising from events in 2017 when



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she filed for bankruptcy in 2018. Def.’s Mot. Dismiss at 10-11. Plaintiff argues that due to the

complex nature of Defendant’s overdraft scheme, the cause of action did not accrue until she was

made aware of her potential claims upon consulting with her attorney in April 2020. Pl.’s Res.

Mot. Dismiss at 5.

          When Plaintiff learned of her claims and filed her complaint regarding the 2017 overdraft

fees in April 2020, the bankruptcy claim had already been discharged in 2018. Thus, Plaintiff was

a real party at time of filing on April 10, 2020. However, Plaintiff Morris may still have a duty to

notify her bankruptcy estate trustee that this claim is pending before the Court.

          The Court hereby DENIES Defendant’s Motion to Dismiss Plaintiffs Complaint based on

lack of standing and judicial estoppel.

    II.      MOTION TO DISMISS

             a. Legal Standard

          Under Mont. R. Civ. P. 12(b)(6) a motion to dismiss is appropriate for Plaintiffs failure to

state a claim upon which relief can be granted. Cape v. Corr. Ctr., 99 P.3d 171, 174 (Mont. 2004).

The Montana Supreme Court held that “a district court is required to construe the complaint in the

light most favorable to the plaintiff and should not dismiss the complaint unless it appears the

plaintiff is not entitled to relief under any set of facts which could be proved in support of the

claims.” Northfield Ins. Co. v. Montana Association of Counties, 10 P.3d 813 (Mont. 2000).

             b. Discussion

          Based on the Court’s reading of the Terms and Conditions of the Deposit Account at issue,

the Court notes that there is a possibility that the language is ambiguous. Both parties’ briefs invite

the Court to interpret the contract’s language, but the Court declines that invitation on a motion to

dismiss the breach of contract and breach of covenant of good faith and fair dealing. Rather, the

Court’s contract interpretation is appropriate on a motion for summary judgment. The Court,

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therefore, finds that there are a set of circumstances in which the Plaintiff could be entitled to relief

on these claims.

           The Court hereby DENIES Defendant’s Motion to Dismiss Plaintiffs Complaint on breach

of contract and breach of covenant of good faith and fair dealing.

    III.      MOTION TO AMEND

              a. Legal Standard

           Under Mont. R. Civ. P. 15(a)(2) a “party may amend its pleading only with the opposing

party’s written consent or the court’s leave[,]” and “[fjhe court should freely give the leave when

justice so requires.” The Montana Supreme Court has liberally applied this rule to allow

amendments if it does not unduly prejudice the opposing party. Ally Financial, Inc. v. Stevenson,

430 P.3d 522, 525 (Mont. 2018); Upky v. Marshall Mountain, LLC, 180 P.3d 651, 654 (Mont.

2008).

              b. Discussion

           Here, the Plaintiff moves to amend the complaint to drop Count III for unjust enrichment

and add an additional plaintiff, Brenda Gray, with identical claims as the original plaintiff, Brandy

Morris, relating to Defendant’s assessment and collection of overdraft fees. Defendant does not

oppose dropping Count III for unjust enrichment. However, Defendant argues that an original

plaintiff who lacks standing is precluded from amending the complaint to later add a plaintiff that

satisfies the standing requirement. After denying Defendant’s Motion to Dismiss for lack of

standing, granting Plaintiffs Amended Complaint to add Brenda Gray as a plaintiff would not

prejudice Defendant.

         The Court hereby GRANTS Plaintiffs Motion to Amend the Complaint to relate back to

the date of Plaintiff Morris’s original Complaint filed April 10, 2020.



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      IV.      CONCLUSIONS

            IT IS HEREBY ORDERED that the Defendant’s Motion to Dismiss is DENIED.

            IT IS HEREBY ORDERED that the Plaintiffs Motion to Amend is GRANTED.




            DATED this              day of October, 2020.




                                                                      Ln .r'/i. -
                                                   DISTRICT JUDGE


cc:         Edwards & Culver
            Kaliel PLLC
            Parker, Fleitz & Cosgrove, PLLC
            Ratten Muchin Rosenman LLP




CERTIFICATE OF SERVICE
This is to certify that the foregoing was duly served by mail/hand
upon the parties on,their attorneys of record at their last known
addresses this.!/ /day of October, 2020.

BY
Judicial Assistant to Hon. Michael G. Moses




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